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 EXHIBIT 94
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                                                                                                      12.08.2021
                                                                                                        Durkan

                                                                                                           13
                                                                                                   Buell Realtime Reporting

Re: Return to East Pct. needs
From:     "Durkan, Jenny" <jamd©seattle.gov>
To:       "Best, Carmen" <carmen.best©seattle.gov>
Cc:       "Fong, Michael" <rnichael.fong©seattle.gov>; "Formas, Stephanie"
          <stephanie.formas©seattle.gov>
Date:     Fri, 19 Jun 2020 08:48:42 -0700

No - it had not made its way to me yet (as it is not fully cooked) But it looks like a lot of must haves
and no how it's going to get done. Your folks need to have their part of an overall operational plan
developed at the table with the other departments (e.g., SDOT, FAS, SPU, SFD, MO). And all of it
hinges on the community work you, me and the teams still need to be doing.

Sent from my iPhone


  On Jun 18, 2020, at 9:09 PM, Best, Carmen <Carmen.Best@seattle.gov> wrote:


   Assume you saw this.



  Carmen Best
  Chief of Police
  Seattle Police Department
  610 Fifth Avenue
  P.O. Box 34986
  Seattle, WA 98124-4986
  Office: 206.684.5577

  Begin forwarded message:


      From: "Kline, Julie" <Julie.Kline©seattle.gov>
      Date: June 18, 2020 at 5:31:00 PM PDT
      To: "Mahaffey, Thomas" <Thomas.Mahaffey©seattle.gov>
      Cc: "Best, Carmen" <Carmen.Best©seattle.gov>, "Diaz, Adrian" <Adrian.Diaz©seattle.gov>
      Subject: RE: Return to East Pct. needs



      Thanks Tom!
      I'll probably bug you more tomorrow with a planning call or two.

      From: Mahaffey, Thomas <Thomas.Mahaffey@seattle.gov>
      Sent: Thursday, June 18, 2020 5:29 PM
      To: Kline, Julie <Julie.Kline@seattle.gov>
      Cc: Best, Carmen <Carmen.Best@seattle.gov>; Diaz, Adrian <Adrian.Diaz@seattle.gov>
      Subject: Return to East Pct. needs




                                                                                                           SEA_00028176
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Julie,

Per your request, this what I believe would be required in order for us to have an orderly
move back into our East Precinct:

1)Removal of all sanctioned and non -sanctioned barricades blocking public streets,
sidewalks and right of ways around the precinct in the protest zone.
2)Removal of all tents blocking sidewalks around the precinct.
3)Removal of all shelters, tents, stages, or other objects placed in the streets, sidewalks, or
public right of way.
4)Removal of all boarding, fencing, banners, or any other object not installed prior to June
8th from the exterior of the East Precinct.
5)Removal of all portable restroom facilities from around the precinct

I cannot answer about the tents in Cal Anderson, I'd like to punt that to A/C Diaz since he
has the Nav Team although I don't believe this situation would fall under their purview.
Having that situation resolved is an important part of an orderly return to the precinct. It
will require further discussion as to the options.



Assistant Chief Tom Mahaffey
Seattle Police Department
Patrol Operations Bureau
(206)684-5782
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https://spdblotterseattle.gov/




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